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                           MOTOR CARRIER TRANSPORTATION CONTRACT


            THIS AGREEMENT, (the “Agreement”) made as of the               day of        V
            20Ij? by and between Vrl C5*7               _________(hereinafter referred to"as
            “Carrier” and EXPRESS FREIGHT SYSTEMS, Inc. a Corporation located at 20 Murray
            Hill Parkway Suite 270 East Rutherford, NJ 07073 (hereinafter referred to as “Broker”).


            1. Express Freight Systems, Inc. is duly licensed by the federal Highway Administration
            ZFHWA (formerly interstate Commerce Commission) to engage in operations, in
            interstate or foreign commerce, as a broker, arranging for transportation of freight (except
            household goods) by motor vehicle MC# 523258 B.

            2. Carrier is a duly licensed contract motor carrier operating under Docket # MC 5^2? 3 J-
            issued by the ICC/FHWA for the purpose of providing the transportation of property for
            shippers and receivers of general commodities.

            3. Broker agrees to offer for shipment and CARRIER agrees to transport on its own
            equipment at least 100,000 pounds annually in a series of shipment and additional
            quantities of freight as Broker may tender subject to the availability of suitable
            equipment

           4. BROKER agrees to pay CARRIER for the transportation of freight moved under this
            agreement in accordance with the rates set forth in Schedule “A” attached hereto and
           made part hereof. Modifications or additions to these rates must be made in writing to
           meet specific shipping schedules. Confinnation of agreed rates will be foxed
           immediately by BROKER to CARRIER and if this confirmation is not in accord with
           CARRIER’S understanding CARRIER will advise BROKER by fox before making the
           pick up of the shipment In addition, confirmation of any fax agreed rates should be
           made by CARRIER’S billing and BROKER’S payment thereof CARRIER’S warrants
           that any rate quoted via fax is a lawful rate. If BROKER pays the freight invoice in a
           reduces amount, such amount shall constitute the agreed rate, unless carrier indicated to
           the contrary to BROKER within thirty (30) days of its receipt ofpayment All
           modifications and additions to rates must be confirmed in writing.

           5. BROKER and CARRIER agree that transportation service hereunder are to be
           performed as a contract earner in compliance with 49 U.S.C 10102 by assigning motor
           vehicle for a continuing period of time for the exclusive use ofBROKER or by providing
           specialized services or equipment designated to meet the distinctive need of
           BROKER of the consignor. Such services shall include, when applicable, but shall not
           be limited to: protective services, multiple stops in transit, direct dispatch, drop
           shipments, inside deliveries, spotting trailers, and expedited shipment,
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            6. CARRIER will be responsible to comply with all applicable ICC/FHWA and D.O.T
            regulations as well as other federal and state regulations pertaining to the operation of a
            motor earner.

            7. CARRIER has authority from the LC.C/FHWA to operate as contract carrier and will
            maintain this authority and insurance for the protection of the public as required by the
            LC.C. / FHWA and for protection of cargo in the amount of 5100,000.00. The amount of
            cargo insurance required may be increased by notification to meet the added valuation for
            specific shipment Cargo insurance shall be in the form required by 49 CJ7.R.1043J2(b),
            and shall lave no exclusions or restrictions that would not be accepted, by the I.C.C /
            FWHA for filing under statutory requirements. Furthermore, the earner is required to
            cany AUTO LIABILITY in the amount of31.000,000.00 with an A-7 rated insurance
            carrier.

            7B. Carrier shall cause its insurance carriers to forward forthwith to BROKER,
            certificates ofinsurance, which certificates shall require said insurance carriers to give
            BROKER written notice thirty (30) days prior to the cancellation of policy or policies, or
            of any reduction in or limitation in the coverage provided thereunder.

            8. Carrier shall issue a bill of lading in its own name and shall be liable to the owner of
            tile freight for full actual loss and damage to the freight under tins agreement while in the
            care and custody of the CARRIER All claims for loss and damage and salvage shall be
            handled and processed in accordance with the regulations of the I.C.C. / FHWA as
            published in the code of Federal Regulations (49 C.F.R 1005). Carrier agrees in
            acknowledge receipt of any claim in writing to the BROKER within 10 days after the
            date ofreceipt of the claim. Carrier also agrees to pay, decline, or make a firm
            compromise settlement offer in writing to the BROKER within 20 days after receipt of
            any claim by CARRIER If the claim remains pending after 30 days ofreceipt, the
            BROKER shall offset the value of the claim with the freight bills due CARRIER

           9. CARRIER agrees to hold BROKER harmless and indemnity BROKER for any
           liability resulting from loss or damage to any freight transported by CARRIER pursuant
           to this agreement including all costs to defend claim. CARRIER also agrees to hold
           BROKER harmless and indemnity BROKER for any liability resulting from personal
           injury or property damage, which may occur during the operation of CARRIER pursuant
           to this agreement including all costs to defend claims. CARRIER also assumes full
           responsibilities for all salaries, insurance taxes, pensions, and benefits of the CARRIER'S
           employees in performance of this contract as now or hereafter apply.

           10. CARRIER will bill all charges for transportation services to BROKER and
           CARRIER shall provide BROKER with a copy of the signed bill of lading and delivery
           receipt The relationship of the CARRIER to BROKER shall, at all times be that of an
           independent contractor.

           11. CARRIER agrees to support and protect BROKER’S effort in performance of this
           agreement by refraining from ANY direct contact or solicitation of BROKER’S
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            customers. During the term of this agreement and for a period of 2 years from the time of
            termination, of this agreement, CARRIERS shall not directly or indirectly solicit or do
            business of a transportation or warehouse nature with any ofBROKER’S customers who
            are serviced by CARRIER as a result of this agreement unless otherwise agreed to in
            writing. If carrier breaches this agreement and customer tenders freight to CARRIER
            directly, the BROKER is then entitled to a commission from the CARRIER of 25% of the
            transportation revenue received on die movement of the traffic and to any damages that
            may be incurred. The CARRIER shall also refrain from any direct contact or solicitation
            of any carriers that BROKER may use if and when the BROKER moves freight for
            CARRIER

            12. Obligations of this agreement are separate and divisible and in the event that any
            clause is deemed unenforceable, the balance of the agreement shall continue in full force
            and effect

            13. CARRIER agrees that BROKER’S compensation hereunder for its services is
            confidential and need to be disclosed to CARRIER Carrier further agrees that it will not
            reveal to anyone the terms of this agreement, the pricing of transportation services, or any
            other details of the business conducted between CARRIER and BROKER.

            14. This agreement shall be deemed to be effective on die first date that CARRIER and
            BROKER commenced business together and the parties agree that the provisions
            contained herein properly express and memorialize the complete understanding of the
            parties as contained in all prior agreements, both verbal Dr in writing. This agreement
            shall be effective continuously subject to the right of either party here to cancel the
            agreement at any time upon not less than (30) days written notice of one party to another.


            CARRIERNAME 14/                  £*7             EXPRESS FREIGHT SYSTEMS, Inc.




                   AUTHORIZED SIGNATURE                              MJH1ORIZED SIGNATURE



                        PRINT NAME                                        PRINT NAME



                          DATE                                               DATE
